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                       THE UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH

GARFIELD COUNTY, UTAH, a Utah political
subdivision; KANE COUNTY, UTAH, a Utah              JUDGMENT IN A CIVIL CASE
political subdivision; THE STATE OF UTAH, by
and through its Governor, SPENCER J. COX, and       Case No. 4:22-cv-00059-DN-PK
its Attorney General, SEAN D. REYES;
               Plaintiffs,                          District Judge David Nuffer
                                                    Magistrate Judge Paul Kohler
ZEBEDIAH GEORGE DALTON; BLUERIBBON
COALITION; KYLE KIMMERLE; and SUZETTE
RANEA MORRIS;
           Consolidated Plaintiffs,

v.

JOSEPH R. BIDEN, JR. in his official capacity as
President of the United States; DEB HAALAND, in
her official capacity as Secretary of Interior;
DEPARTMENT OF THE INTERIOR; TRACY
STONE-MANNING, in her official capacity as
Director of the Bureau of Land Management;
BUREAU OF LAND MANAGEMENT; TOM
VILSACK, in his official capacity as Secretary of
Agriculture; DEPARTMENT OF AGRICULTURE;
RANDY MOORE, in his official capacity as Chief
of the Forest Service; FOREST SERVICE;
                Defendants,

HOPI TRIBE, NAVAJO NATION, PUEBLO OF
ZUNI, and UTE MOUNTAIN UTE TRIBE;
            Intervenor-Defendants,

SOUTHERN UTAH WILDERNESS ALLIANCE,
CENTER FOR BIOLOGICAL DIVERSITY,
GRAND CANYON TRUST, GREAT OLD
BROADS FOR WILDERNESS, NATIONAL
PARKS CONSERVATION ASSOCIATION,
NATURAL RESOURCES DEFENSE COUNCIL,
SIERRA CLUB, THE WILDERNESS SOCIETY,
WESTERN WATERSHEDS PROJECT, and
WILDEARTH GUARDIANS.
          Intervenor-Defendants.
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    IT IS ORDERED AND ADJUDGED THAT

    Plaintiffs' causes of action are dismissed with prejudice.



    Signed August 11, 2023.

                                           BY THE COURT


                                           ________________________________________
                                           David Nuffer
                                           United States District Judge




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